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                            Declaration of
                        Elizabeth McNamara
                               Exhibit 19
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                                                                              1


·1·
 1  ·UNITED
     UNITED STATES
            STATES DISTRICT
                    DISTRICT COURT
                             COURT
· · ·SOUTHERN
     SOUTHERN DISTRICT
              DISTRICT OF
                        OF GEORGIA
                           GEORGIA
·2·
 2 ·WAYCROSS
     WAYCROSS DIVISION
              DIVISION
· · ·------------------------------------------X
                                               X
·3·
 3 ·DR.  MAHENDRA AMIN,
     DR. MAHENDRA  AMIN, M.D.,
                         M.D.,

·4·
 4  · · · · · · · · · · · · · · PLAINTIFF,
                                PLAINTIFF,

·5·
 5 · · · · · ·-against-·
               -against- · · · Case
                                Case No.:
                                     No.:
· · · · · · · · · · · · · · · · 5:21-cv-00056
                                5:21-cv-00056
·6·
 6 · · · · · · · · · · · · · · · ·LGW-BWC
                                   LGW-BWC

·7·
 7 ·NBCUNIVERSAL MEDIA, LLC,
    NBCUNIVERSAL MEDIA, LLC,

·8·
 8  · · · · · · · · · · · · · · DEFENDANT.
                                 DEFENDANT.
· · ·------------------------------------------X
                                               X
·9·
 9 · · · · · · · · DATE:  August 23,
                    DATE: August  23, 2023
                                      2023
· · · · · · · · · · TIME:
                    TIME: 9:30
                          9:30 a.m.  EDT
                               a.m. EDT
10
10

11
11

12
12

13·
13 · · · · · ·REMOTE
              REMOTE DEPOSITION of MARIA
                     DEPOSITION of MARIA NITO,
                                         NITO,

14·
14  ·taken
     taken by
           by the
              the Defendant,
                  Defendant, pursuant
                             pursuant to
                                      to a
                                         a

15·
15 ·notice
    notice and to the
           and to the Federal
                      Federal Rules of Civil
                              Rules of Civil

16·
16 ·Procedure,
    Procedure, held
               held remotely
                    remotely via
                             via Zoom
                                 Zoom

17·
17 ·Videoconference, before Suzanne
    Videoconference, before         Pastor, a
                            Suzanne Pastor, a

18·
18  ·Notary
     Notary Public of the
            Public of the State
                          State of New York.
                                of New York.

19
19

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                                            2023                            26
                                                                            26


·1·
 1 ·upon
    upon what the findings
         what the findings were
                           were on the
                                on the

·2·
 2 ·ultrasound.
    ultrasound.

·3·
 3 · · · Q.·
         Q. · Are
              Are there certain indications
                  there certain indications

·4·
 4 ·on
    on an
       an ultrasound
          ultrasound that
                     that lead
                          lead to
                               to a
                                  a D&C
                                    D&C and
                                        and

·5·
 5 ·laparoscopy?
    laparoscopy?

·6·
 6 · · · · · · MR.
               MR. JOHNSON:·
                   JOHNSON: Object
                             Object to form.
                                    to form.

·7·
 7 · · · A.
         A.· · Yes.·
               Yes. It
                     It will
                        will be ovarian cyst
                             be ovarian cyst

·8·
 8 ·or
    or a
       a adnexal mass, uterine
         adnexal mass, uterine fibroid.
                               fibroid.

·9·
 9 · · · · · · Let's
               Let's see,
                     see, and
                          and the
                              the purpose
                                  purpose of
                                          of

10·
10 ·the
    the laparoscopy
        laparoscopy was
                    was also
                        also to
                             to find
                                find any other
                                     any other

11·
11 ·abnormalities
    abnormalities such
                  such as
                       as pelvic endometriosis,
                          pelvic endometriosis,

12·
12 ·which
    which can only be
          can only be seen
                      seen through
                           through a
                                   a camera.
                                     camera.

13·
13 ·Laparoscopic.
    Laparoscopic.

14·
14 · · · Q.·
         Q. · Where
              Where did
                    did you learn about
                        you learn about the
                                        the

15·
15 ·description for D&C?·
    description for D&C? Where
                          Where did
                                did you learn
                                    you learn

16·
16 ·that?
    that?

17·
17 · · · A.
         A.· · I
               I learned it throughout
                 learned it throughout the
                                       the

18·
18 ·years.
    years.

19·
19 · · · Q.·
         Q. · From
              From Dr. Amin or
                   Dr. Amin or from
                               from somebody
                                    somebody

20·
20 ·else?
    else?

21·
21 · · · A.
         A.· ·

22·
22 ·

23 ·
23·

24·
24 · · · Q.·
         Q. ·

25·
25 ·



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                                                                            27


·1·
 1 · · · A.
         A.· ·

·2·
 2 · · · Q.·
         Q. ·

·3·
 3 ·

·4·
 4 · · · A.
         A.· ·

·5·
 5 ·

·6·
 6 ·

·7·
 7 · · · Q.·
         Q. ·

·8·
 8 · · · · · ·

·9·
 9 ·

10·
10 · · · A.
         A.· ·

11·
11 · · · Q.·
         Q. ·

12·
12 · · · A.
         A.· ·

13·
13 · · · Q.·
         Q. ·

14·
14 · · · A.
         A.· ·       .
                     .

15·
15 · · · Q.·
         Q. · Are
              Are you
                  you employed by Dr.
                      employed by     Amin
                                  Dr. Amin

16·
16 ·personally or is
    personally or is there
                     there a
                           a company that
                             company that

17·
17 ·employs
    employs you, or something
            you, or something else?
                              else?

18·
18 · · · A.
         A.· · Dr. Amin employed
               Dr. Amin          me.
                        employed me.

19·
19 · · · Q.·
         Q. · Who
              Who do
                  do your paychecks come
                     your paychecks come

20·
20 ·from?
    from?

21·
21 · · · A.
         A.· · They
               They come from Clarence
                    come from Clarence

22·
22 ·Payments
    Payments in Purvis.· I'm
             in Purvis.  I'm not
                             not sure
                                 sure about
                                      about the
                                            the

23 ·name
23· name exactly.· But they're
         exactly. But  they're Dr. Amin's
                               Dr. Amin's

24·
24 ·accountants.
    accountants.

25·
25 · · · Q.·
         Q. · Do
              Do you
                 you know
                     know how many employees
                          how many employees



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·1·
 1 ·work
    work for
         for Dr. Amin today
             Dr. Amin today in
                            in his medical
                               his medical

·2·
 2 ·practice?
    practice?

·3·
 3 · · · A.
         A.· · I'll
               I'll say
                    say about
                        about nine or ten.
                              nine or ten.

·4·
 4 · · · Q.·
         Q. · Do
              Do you
                 you know
                     know how many employees
                          how many employees

·5·
 5 ·worked
    worked for
           for him in September
               him in September of 2020?
                                of 2020?

·6·
 6 · · · A.
         A.· · That
               That I
                    I do not remember.
                      do not remember.

·7·
 7 · · · Q.·
         Q. · Do
              Do you
                 you remember if it
                     remember if it was
                                    was

·8·
 8 ·smaller
    smaller or larger than
            or larger      it is
                      than it    today?
                              is today?

·9·
 9 · · · A.
         A.· · I
               I do
                 do not
                    not remember.
                        remember.

10·
10 · · · Q.·
         Q. · So
              So is
                 is it
                    it fair
                       fair to
                            to say
                               say that
                                   that it's
                                        it's

11·
11 ·not
    not a
        a significantly
          significantly different number of
                        different number of

12·
12 ·employees?
    employees?

13·
13 · · · A.
         A.· · I
               I would
                 would say so.
                       say so.

14·
14 · · · Q.·
         Q. · Do
              Do you
                 you actually
                     actually work
                              work in
                                   in an
                                      an

15·
15 ·office?
    office?

16·
16 · · · A.
         A.· · Yes.
               Yes.

17·
17 · · · Q.·
         Q. · So
              So you
                 you work in an
                     work in    office within
                             an office within

18·
18 ·Dr. Amin's office?
    Dr. Amin's office?

19·
19 · · · A.
         A.· · Yes.
               Yes.

20·
20 · · · Q.·
         Q. · Do
              Do you
                 you have
                     have an office with
                          an office with a
                                         a

21·
21 ·door?
    door?

22·
22 · · · A.
         A.· · Yes.
               Yes.

23· · · · Q.·
23        Q. · Is
               Is there
                  there a
                        a waiting
                          waiting room
                                  room in
                                       in the
                                          the

24·
24 ·office?
    office?

25·
25 · · · A.
         A.· · No.·
               No. Well,
                    Well, yes.·
                          yes. There's
                                There's one.
                                        one.



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·1·
 1 ·When
    When they first come
         they first come in,
                         in, that's
                             that's the lobby,
                                    the lobby,

·2·
 2 ·yes.
    yes.

·3·
 3 · · · Q.·
         Q. · Are
              Are there
                  there any
                        any televisions
                            televisions in
                                        in

·4·
 4 ·the
    the lobby?
        lobby?

·5·
 5 · · · A.
         A.· · Yes.
               Yes.

·6·
 6 · · · Q.·
         Q. · Are
              Are they
                  they tuned
                       tuned to
                             to specific
                                specific

·7·
 7 ·channels?
    channels?

·8·
 8 · · · A.
         A.· · Yes.
               Yes.

·9·
 9 · · · Q.·
         Q. · What
              What channels
                   channels are
                            are they
                                they tuned
                                     tuned

10·
10 ·to?
    to?

11·
11 · · · A.
         A.· · Kids.
               Kids.

12·
12 · · · Q.·
         Q. · Kids?
              Kids?

13·
13 · · · A.
         A.· · Yes.
               Yes.

14·
14 · · · Q.·
         Q. · Like
              Like Nickelodeon or something?
                   Nickelodeon or something?

15·
15 · · · A.
         A.· · Something, because patients
               Something, because patients

16·
16 ·always
    always come in with
           come in with their
                        their child,
                              child, so
                                     so we let
                                        we let

17·
17 ·them
    them sit
         sit there, just watch
             there, just watch TV.
                               TV.

18·
18 · · · Q.·
         Q. · Are
              Are any
                  any of them tuned
                      of them tuned to
                                    to a
                                       a news
                                         news

19·
19 ·channel?
    channel?

20·
20 · · · A.
         A.· · No.
               No.

21·
21 · · · Q.·
         Q. · Do
              Do you
                 you ever
                     ever go into the
                          go into the

22·
22 ·hospital
    hospital for
             for your job?
                 your job?

23· · · · A.
23        A.· · No.
                No.

24·
24 · · · Q.·
         Q. · Do
              Do you
                 you have
                     have an
                          an e-mail
                             e-mail address
                                    address

25·
25 ·for
    for work?
        work?



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                                                                            30


·1·
 1 · · · A.
         A.· · Yes.
               Yes.

·2·
 2 · · · Q.·
         Q. · What
              What is
                   is it?
                      it?

·3·
 3 · · · A.
         A.· · MGAmin2014@Yahoo.com.
               MGAmin2014@Yahoo.com.

·4·
 4 · · · Q.·
         Q. · That's
              That's your personal work
                     your personal work

·5·
 5 ·address?
    address?

·6·
 6 · · · A.
         A.· · That
               That is
                    is the office in
                       the office in complete
                                     complete

·7·
 7 ·e-mail.
    e-mail.

·8·
 8 · · · Q.·
         Q. · So
              So there's only one
                 there's only one e-mail
                                  e-mail

·9·
 9 ·address
    address for the whole
            for the whole office?
                          office?

10·
10 · · · A.
         A.· · Yes.
               Yes.

11·
11 · · · Q.·
         Q. · Who
              Who has
                  has access
                      access to
                             to that
                                that e-mail
                                     e-mail

12·
12 ·address?
    address?

13·
13 · · · A.
         A.· · It
               It would
                  would be me, which
                        be me, which I'm
                                     I'm the
                                         the

14·
14 ·surgical
    surgical coordinator,
             coordinator, the
                          the office manager,
                              office manager,

15·
15 ·Alma Arceo, Jan
    Alma Arceo, Jan Chancey,
                    Chancey, nurse,
                             nurse, and
                                    and I'll
                                        I'll

16·
16 ·say
    say that's pretty much
        that's pretty much it.
                           it.

17·
17 · · · Q.·
         Q. · Jan
              Jan Chancey is the
                  Chancey is the same
                                 same Jan
                                      Jan

18·
18 ·Chancey
    Chancey who
            who was formerly the
                was formerly     office manner?
                             the office manner?

19·
19 · · · A.
         A.· · Yes.
               Yes.

20·
20 · · · Q.·
         Q. · Became
              Became a
                     a nurse?
                       nurse?

21·
21 · · · A.
         A.· · She's
               She's basically
                     basically the
                               the nurse,
                                   nurse, yes.
                                          yes.

22·
22 · · · Q.·
         Q. · Does
              Does Dr. Amin have
                   Dr. Amin have access
                                 access to
                                        to

23· ·that
23   that e-mail
          e-mail address?
                 address?

24·
24 · · · A.
         A.· · No.
               No.

25·
25 · · · Q.·
         Q. · Does
              Does Dr. Amin have
                   Dr. Amin have a
                                 a work
                                   work



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·1·
 1 ·e-mail
    e-mail address?
           address?

·2·
 2 · · · A.
         A.· · That
               That I
                    I do not know.
                      do not know.

·3·
 3 · · · Q.·
         Q. · If
              If you
                 you need to communicate
                     need to communicate with
                                         with

·4·
 4 ·Dr. Amin, do
    Dr. Amin, do you
                 you ever
                     ever send
                          send him
                               him e-mails?
                                   e-mails?

·5·
 5 · · · A.
         A.· · No.
               No.

·6·
 6 · · · Q.·
         Q. · How
              How do
                  do you communicate with
                     you communicate with

·7·
 7 ·him?
    him?

·8·
 8 · · · A.
         A.· · Through
               Through a cellphone.· I
                       a cellphone.  I usually
                                       usually

·9·
 9 ·call
    call him.·
         him. If
               If he's
                  he's not in the
                       not in     office I
                              the office I call
                                           call

10·
10 ·his
    his personal
        personal cellphone
                 cellphone number.
                           number.

11·
11 · · · Q.·
         Q. · Do
              Do you
                 you ever text him?
                     ever text him?

12·
12 · · · A.
         A.· · Yes.
               Yes.

13·
13 · · · Q.·
         Q. · Do
              Do you
                 you text
                     text him
                          him about
                              about work?
                                    work?

14·
14 · · · A.
         A.· · Yes.
               Yes.

15·
15 · · · Q.·
         Q. · And
              And that's on his
                  that's on his personal
                                personal

16·
16 ·cellphone
    cellphone also.
              also.

17·
17 · · · A.
         A.· · Yes.
               Yes.

18·
18 · · · Q.·
         Q. · Back
              Back to
                   to the e-mail address,
                      the e-mail address, the
                                          the

19·
19 ·MGAmin2014@yahoo.com,
    MGAmin2014@yahoo.com, do
                          do you
                             you know if there
                                 know if there

20·
20 ·are
    are deletion policies on
        deletion policies on that e-mail
                             that e-mail

21·
21 ·address?
    address?

22·
22 · · · A.
         A.· · No,
               No, I
                   I don't
                     don't know.
                           know.

23· · · · Q.·
23        Q. · Do
               Do you
                  you ever
                      ever delete
                           delete e-mails
                                  e-mails from
                                          from

24·
24 ·that
    that e-mail
         e-mail address?
                address?

25·
25 · · · A.
         A.· · No.
               No.



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·1·
 1 · · · Q.·
         Q. · Do
              Do you
                 you know if anybody
                     know if anybody else
                                     else

·2·
 2 ·deletes
    deletes e-mails from that
            e-mails from that e-mail
                              e-mail address?
                                     address?

·3·
 3 · · · A.
         A.· · I
               I don't
                 don't know.
                       know.

·4·
 4 · · · Q.·
         Q. · Did
              Did anybody tell you
                  anybody tell you to
                                   to make
                                      make

·5·
 5 ·sure
    sure that
         that you
              you retain
                  retain communications from
                         communications from

·6·
 6 ·that
    that e-mail
         e-mail address
                address at
                        at some
                           some point?
                                point?

·7·
 7 · · · A.
         A.· · I'm
               I'm sorry, can you
                   sorry, can you rephrase
                                  rephrase the
                                           the

·8·
 8 ·question?
    question?

·9·
 9 · · · Q.·
         Q. · Did
              Did anybody ever instruct
                  anybody ever instruct you
                                        you

10·
10 ·not
    not to
        to delete
           delete e-mails
                  e-mails from
                          from that
                               that account?
                                    account?

11·
11 · · · A.
         A.· · No.
               No.

12·
12 · · · Q.·
         Q. · Did
              Did you
                  you ever
                      ever collect
                           collect e-mails
                                   e-mails

13·
13 ·from
    from that e-mail address
         that e-mail address for purposes of
                             for purposes of

14·
14 ·this
    this litigation?
         litigation?

15·
15 · · · A.
         A.· · No.
               No.

16·
16 · · · Q.·
         Q. · Do
              Do you
                 you know if anybody
                     know if anybody

17·
17 ·collected
    collected e-mails from that
              e-mails from that e-mail
                                e-mail address
                                       address

18·
18 ·for
    for purposes of this
        purposes of this litigation?
                         litigation?

19·
19 · · · A.
         A.· · No.
               No.

20·
20 · · · Q.·
         Q. · You
              You don't
                  don't know or nobody
                        know or nobody did?
                                       did?

21·
21 · · · A.
         A.· · No.
               No.

22·
22 · · · Q.·
         Q. · Sorry,
              Sorry, I
                     I just
                       just don't
                            don't understand
                                  understand

23· ·your
23   your answer.·
          answer. Do
                   Do you
                      you know
                          know whether
                               whether anybody
                                       anybody

24·
24 ·collected e-mail addresses
    collected e-mail           -- sorry,
                     addresses -- sorry, do
                                         do you
                                            you

25·
25 ·know
    know whether
         whether anybody
                 anybody collected
                         collected e-mails from
                                   e-mails from



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·1·
 1 ·very
    very poor
         poor question, but was
              question, but was it
                                it a
                                   a consistent
                                     consistent

·2·
 2 ·period
    period of time or
           of time or did
                      did he
                          he start treating ICE
                             start treating ICE

·3·
 3 ·patients, stop for
    patients, stop for a
                       a period
                         period of time and
                                of time and

·4·
 4 ·then
    then start
         start again?
               again?

·5·
 5 · · · · · · MR.
               MR. JOHNSON:·
                   JOHNSON: Object
                             Object to form.
                                    to form.

·6·
 6 · · · A.
         A.· · That
               That I
                    I don't
                      don't remember
                            remember exactly
                                     exactly

·7·
 7 ·again.· But it's
    again. But  it's like they started
                     like they started coming.
                                       coming.

·8·
 8 ·So
    So yeah,
       yeah, that's
             that's how
                    how pretty
                        pretty much it all
                               much it all

·9·
 9 ·started
    started at the old
            at the old office.
                       office.

10·
10 · · · · · · MR.
               MR. JOHNSON:· Amanda, if
                   JOHNSON: Amanda,  if I
                                        I can
                                          can

11·
11 · · · ·jump
          jump in,
               in, I
                   I do
                     do need
                        need to
                             to use
                                use the
                                    the

12·
12 · · · ·restroom, so if
          restroom, so if you
                          you don't
                              don't want to
                                    want to

13·
13 · · · ·stop
          stop in
               in the middle of
                  the middle of a
                                a line,
                                  line, I
                                        I

14·
14 · · · ·suggest
          suggest we stop now
                  we stop now for
                              for a
                                  a minute if
                                    minute if

15·
15 · · · ·that's
          that's okay.
                 okay.

16·
16 · · · · · · MS.
               MS. LEVINE:·
                   LEVINE: Yup,
                            Yup, that
                                 that works
                                      works

17·
17 · · · ·for
          for me.
              me.

18·
18 · · · · · · MR.
               MR. JOHNSON:· All right,
                   JOHNSON: All         thank
                                 right, thank

19·
19 · · · ·you.
          you.

20·
20 · · · · · · THE
               THE VIDEOGRAPHER:·
                   VIDEOGRAPHER: The
                                  The time
                                      time is
                                           is

21·
21 · · · ·10:31
          10:31 a.m.
                a.m. and
                     and we're
                         we're going
                               going off the
                                     off the

22·
22 · · · ·record.
          record.

23· · · · · · · (Whereupon,
23              (Whereupon, a
                            a short
                              short recess
                                    recess was
                                           was

24·
24 · · · ·taken.)
          taken.)

25·
25 · · · · · · THE
               THE VIDEOGRAPHER:·
                   VIDEOGRAPHER: The
                                  The time
                                      time is
                                           is



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·1·
 1 · · · ·10:37
          10:37 a.m.
                a.m. and
                     and we're
                         we're back
                               back on
                                    on record.
                                       record.

·2·
 2 ·BY MS. LEVINE:
    BY MS. LEVINE:

·3·
 3 · · · Q.·
         Q. · Ms.
              Ms. Nito,
                  Nito, we
                        we were
                           were talking
                                talking about
                                        about

·4·
 4 ·before
    before we took a
           we took   break and
                   a break and you
                               you had
                                   had

·5·
 5 ·mentioned that it
    mentioned that it was
                      was at
                          at the old office
                             the old office

·6·
 6 ·when
    when this started.
         this started.

·7·
 7 · · · A.
         A.· · Yes.
               Yes.

·8·
 8 · · · Q.·
         Q. · Did
              Did Dr. Amin switch
                  Dr. Amin        offices at
                           switch offices at

·9·
 9 ·some
    some point?
         point?

10·
10 · · · A.
         A.· · Yes.
               Yes.

11·
11 · · · Q.·
         Q. · When
              When was
                   was that?
                       that?

12·
12 · · · A.
         A.· · 2016.
               2016.

13·
13 · · · Q.·
         Q. · Was
              Was he
                  he seeing
                     seeing ICE
                            ICE detainees
                                detainees at
                                          at

14·
14 ·the
    the old
        old office?
            office?

15·
15 · · · A.
         A.· · Yes.
               Yes.

16·
16 · · · Q.·
         Q. · So
              So he
                 he was seeing ICE
                    was seeing ICE detainees
                                   detainees

17·
17 ·before
    before 2016?
           2016?

18·
18 · · · A.
         A.· · Yes.
               Yes.

19·
19 · · · Q.·
         Q. · Do
              Do you
                 you know
                     know how it came
                          how it came about
                                      about

20·
20 ·that
    that he
         he started
            started seeing
                    seeing ICE
                           ICE detainees?
                               detainees?

21·
21 · · · A.
         A.· · That
               That I
                    I don't
                      don't know.
                            know.

22·
22 · · · Q.·
         Q. · Do
              Do you
                 you know if he
                     know if he had
                                had a
                                    a

23· ·contract
23   contract with
              with ICE?
                   ICE?

24·
24 · · · A.
         A.· · That
               That I
                    I don't
                      don't know.
                            know.

25·
25 · · · Q.·
         Q. · Do
              Do you
                 you know if he
                     know if he had
                                had a
                                    a



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·1·
 1 ·contract
    contract with
             with any other entity?
                  any other entity?

·2·
 2 · · · · · · MR.
               MR. JOHNSON:·
                   JOHNSON: Object
                             Object to form.
                                    to form.

·3·
 3 · · · A.
         A.· · I
               I don't
                 don't know.
                       know.

·4·
 4 · · · Q.·
         Q. · Did
              Did Dr. Amin stop
                  Dr. Amin stop seeing
                                seeing ICE
                                       ICE

·5·
 5 ·detainees
    detainees at
              at some
                 some point?
                      point?

·6·
 6 · · · A.
         A.· · Can
               Can you
                   you rephrase
                       rephrase that
                                that question?
                                     question?

·7·
 7 · · · Q.·
         Q. · Does
              Does Dr. Amin still
                   Dr. Amin still treat
                                  treat any
                                        any

·8·
 8 ·ICE
    ICE detainees?
        detainees?

·9·
 9 · · · A.
         A.· · Does
               Does he
                    he still
                       still do it?
                             do it?

10·
10 · · · Q.·
         Q. · Yes.
              Yes.

11·
11 · · · A.
         A.· · No.
               No.

12·
12 · · · Q.·
         Q. · Do
              Do you
                 you know
                     know when
                          when that
                               that stopped?
                                    stopped?

13·
13 · · · A.
         A.· · Yes.·
               Yes. It
                     It all
                        all stopped
                            stopped when
                                    when all
                                         all

14·
14 ·that
    that happened
         happened with
                  with the
                       the whistleblower.
                           whistleblower.

15·
15 · · · Q.·
         Q. · What
              What do
                   do you mean by
                      you mean by "all
                                  "all that
                                       that

16·
16 ·happened"?
    happened"?

17·
17 · · · A.
         A.· · When
               When the
                    the false -- or
                        false -- or the
                                    the

18·
18 ·allegations came up.
    allegations came up.

19·
19 · · · Q.·
         Q. · What
              What allegations?
                   allegations?

20·
20 · · · A.
         A.· · The
               The ICE
                   ICE detainees.
                       detainees.

21·
21 · · · Q.·
         Q. · What
              What is
                   is your
                      your understanding
                           understanding of
                                         of

22·
22 ·what
    what the
         the ICE
             ICE detainees
                 detainees said?
                           said?

23· · · · A.
23        A.· · The
                The allegations?·
                    allegations? Is
                                  Is that
                                     that what
                                          what

24·
24 ·you're
    you're asking?·
           asking? The
                    The allegations?
                        allegations?

25·
25 · · · Q.·
         Q. · Yes.
              Yes.



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·1·
 1 · · · A.
         A.· · Okay.·
               Okay. That
                      That Dr. Amin did
                           Dr. Amin did

·2·
 2 ·procedures on them
    procedures on them without
                       without their
                               their knowledge
                                     knowledge

·3·
 3 ·or -- yeah,
    or --       like he
          yeah, like he had
                        had done procedures on
                            done procedures on

·4·
 4 ·them
    them without them knowing
         without them knowing that they were
                              that they were

·5·
 5 ·gonna
    gonna have it done.
          have it done.

·6·
 6 · · · Q.·
         Q. · You
              You mentioned
                  mentioned the
                            the

·7·
 7 ·whistleblower.·
    whistleblower. Do
                    Do you
                       you know
                           know who
                                who the
                                    the

·8·
 8 ·whistleblower is?
    whistleblower is?

·9·
 9 · · · · · · MR.
               MR. JOHNSON:·
                   JOHNSON: Object
                             Object to form.
                                    to form.

10·
10 · · · A.
         A.· · I
               I remember that she
                 remember that she was African
                                   was African

11·
11 ·American.·
    American. Her
               Her name
                   name I don't remember
                        I don't remember since
                                         since

12·
12 ·it's
    it's been
         been years
              years ago.
                    ago.

13·
13 · · · Q.·
         Q. · Did
              Did you
                  you ever
                      ever read
                           read the
                                the complaint
                                    complaint

14·
14 ·that
    that she
         she filed?
             filed?

15·
15 · · · A.
         A.· · Yes.
               Yes.

16·
16 · · · Q.·
         Q. · Do
              Do you
                 you remember
                     remember when
                              when you
                                   you read
                                       read

17·
17 ·that?
    that?

18·
18 · · · A.
         A.· · Yes.
               Yes.

19·
19 · · · Q.·
         Q. · When
              When was
                   was that?
                       that?

20·
20 · · · A.
         A.· · It
               It had
                  had to be immediately.
                      to be immediately.

21·
21 ·Probably
    Probably when
             when everything
                  everything came out in
                             came out in

22·
22 ·September.
    September.

23· · · · Q.·
23        Q. · How
               How did
                   did you
                       you get
                           get the
                               the complaint?
                                   complaint?

24·
24 · · · · · · MR.
               MR. JOHNSON:·
                   JOHNSON: Object
                             Object to form.
                                    to form.

25·
25 · · · A.
         A.· · It
               It was
                  was all over the
                      all over     media, so
                               the media, so



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·1·
 1 ·co-workers
    co-workers were
               were talking
                    talking about it.
                            about it.

·2·
 2 · · · Q.·
         Q. · Was
              Was there
                  there any media that
                        any media that you
                                       you

·3·
 3 ·saw
    saw or
        or read
           read about it?
                about it?

·4·
 4 · · · · · · MR.
               MR. JOHNSON:·
                   JOHNSON: Object
                             Object to form.
                                    to form.

·5·
 5 · · · A.
         A.· · Yes.·
               Yes. II remember seeing videos
                       remember seeing videos

·6·
 6 ·of
    of the
       the whistleblower
           whistleblower being
                         being interviewed.
                               interviewed.

·7·
 7 ·And
    And some
        some of them --
             of them -- some
                        some of
                             of them
                                them were
                                     were

·8·
 8 ·forwarded to me
    forwarded to me by
                    by my
                       my daughter, from social
                          daughter, from social

·9·
 9 ·media
    media where
          where her friends were
                her friends      talking about
                            were talking about

10·
10 ·the
    the doctor in town.·
        doctor in        And it
                  town. And  it had -- those
                                had -- those

11·
11 ·interviews on TV
    interviews on    on Univision,
                  TV on Univision, because
                                   because

12·
12 ·that's
    that's the Hispanic community
           the Hispanic           news, there
                        community news, there

13·
13 ·was
    was ICE
        ICE detainees
            detainees that
                      that were
                           were having --
                                having --

14·
14 ·saying
    saying those
           those allegations.
                 allegations.

15·
15 · · · Q.·
         Q. · When
              When you
                   you say they were
                       say they were

16·
16 ·forwarded to you,
    forwarded to you, do
                      do you
                         you mean forwarded on
                             mean forwarded on

17·
17 ·social
    social media?
           media?

18·
18 · · · A.
         A.· · Yes.
               Yes.

19·
19 · · · Q.·
         Q. · What
              What social media?
                   social media?

20·
20 · · · A.
         A.· · Snapchat.
               Snapchat.

21·
21 · · · Q.·
         Q. · If
              If I
                 I understand
                   understand correctly,
                              correctly, your
                                         your

22·
22 ·daughter
    daughter forwarded
             forwarded you
                       you Snapchat
                           Snapchat videos
                                    videos

23· ·about
23   about this.
           this.

24·
24 · · · A.
         A.· · Yes.
               Yes.

25·
25 · · · Q.·
         Q. · Do
              Do you
                 you read
                     read any
                          any specific
                              specific news
                                       news



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·1·
 1 ·sources?
    sources?

·2·
 2 · · · A.
         A.· · About
               About this?
                     this?

·3·
 3 · · · Q.·
         Q. · Generally.
              Generally.

·4·
 4 · · · A.
         A.· · I
               I really
                 really hate
                        hate the
                             the news,
                                 news,

·5·
 5 ·honestly.·
    honestly. So
               So I
                  I don't -- I
                    don't -- I try
                               try not
                                   not to.· And
                                       to. And

·6·
 6 ·right
    right now,
          now, I mean, I
               I mean, I have
                         have a
                              a grandbaby
                                grandbaby and
                                          and

·7·
 7 ·I'm just tied
    I'm just tied up
                  up with
                     with him.·
                          him. So
                                So no,
                                   no, I
                                       I barely
                                         barely

·8·
 8 ·get
    get on
        on Facebook
           Facebook now.
                    now.

·9·
 9 · · · Q.·
         Q. · Do
              Do you
                 you ever
                     ever read local
                          read local

10·
10 ·newspapers?
    newspapers?

11·
11 · · · A.
         A.· · No.
               No.

12·
12 · · · Q.·
         Q. · Do
              Do you
                 you read the Journal
                     read the Journal

13·
13 ·Constitution?
    Constitution?

14·
14 · · · A.
         A.· · No.
               No.

15·
15 · · · Q.·
         Q. · Do
              Do you
                 you ever
                     ever watch
                          watch the
                                the news?
                                    news?

16·
16 · · · A.
         A.· · Yes,
               Yes, on,
                    on, again,
                        again, social
                               social media.
                                      media.

17·
17 · · · Q.·
         Q. · You
              You don't turn on
                  don't turn on the
                                the TV
                                    TV and
                                       and

18·
18 ·put
    put on
        on the news?
           the news?

19·
19 · · · A.
         A.· · No,
               No, because
                   because I
                           I don't -- in
                             don't -- in

20·
20 ·general,
    general, I don't have
             I don't have cable.
                          cable.

21·
21 · · · Q.·
         Q. · Back
              Back to
                   to Dr. Amin treating
                      Dr. Amin treating ICE
                                        ICE

22·
22 ·detainees, did you
    detainees, did you see
                       see ICE
                           ICE detainees
                               detainees coming
                                         coming

23· ·into
23   into his
          his office?
              office?

24·
24 · · · A.
         A.· · Yes.
               Yes.

25·
25 · · · Q.·
         Q. · Where
              Where would
                    would you
                          you see
                              see them?
                                  them?



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·1·
 1 · · · · · · MR.
               MR. JOHNSON:·
                   JOHNSON: Object
                             Object to form.
                                    to form.

·2·
 2 · · · A.
         A.· · They
               They would come through
                    would come through the
                                       the

·3·
 3 ·back
    back door.
         door.

·4·
 4 · · · Q.·
         Q. · Do
              Do you
                 you know
                     know why?
                          why?

·5·
 5 · · · A.
         A.· · Yes.
               Yes.

·6·
 6 · · · · · · MR.
               MR. JOHNSON:·
                   JOHNSON: Object
                             Object to form.
                                    to form.

·7·
 7 · · · Q.·
         Q. · Why?
              Why?

·8·
 8 · · · A.
         A.· · We
               We treated them special
                  treated them special because
                                       because

·9·
 9 ·back
    back door patients are
         door patients are special.·
                           special. No
                                     No

10·
10 ·patient -- no
    patient -- no other
                  other patients come in
                        patients come in the
                                         the

11·
11 ·back
    back door but just
         door but just special
                       special patients.· And
                               patients. And

12·
12 ·the
    the ICE
        ICE detainees
            detainees were
                      were special,
                           special, so
                                    so they
                                       they

13·
13 ·come
    come through
         through the back door
                 the back door with
                               with the
                                    the

14·
14 ·officers.
    officers.

15·
15 · · · Q.·
         Q. · Special
              Special in
                      in what
                         what way?
                              way?

16·
16 · · · A.
         A.· · They
               They would be seen
                    would be      immediately.
                             seen immediately.

17·
17 ·They
    They didn't
         didn't have
                have to
                     to wait
                        wait a
                             a long time.· Just
                               long time.  Just

18·
18 ·like
    like the
         the other patients in
             other patients in the lobby had
                               the lobby had to
                                             to

19·
19 ·wait
    wait for
         for sometimes
             sometimes 30
                       30 minutes to an
                          minutes to an hour
                                        hour

20·
20 ·until
    until a
          a room became available.
            room became available.

21·
21 · · · Q.·
         Q. · Was
              Was that
                  that something
                       something that
                                 that the
                                      the

22·
22 ·office
    office agreed
           agreed to
                  to with
                     with ICE?
                          ICE?

23· · · · · · · MR.
23              MR. JOHNSON:·
                    JOHNSON: Object
                              Object to form.
                                     to form.

24·
24 · · · A.
         A.· · That
               That I
                    I don't
                      don't know.
                            know.

25·
25 · · · Q.·
         Q. · Do
              Do you
                 you know if the
                     know if     office
                             the office



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·1·
 1 ·agreed
    agreed with
           with any other party
                any other party about
                                about that?
                                      that?

·2·
 2 · · · · · · MR.
               MR. JOHNSON:·
                   JOHNSON: Object
                             Object to form.
                                    to form.

·3·
 3 · · · A.
         A.· · That
               That I
                    I don't
                      don't know
                            know either.
                                 either.

·4·
 4 · · · Q.·
         Q. · You
              You mentioned they were
                  mentioned they were

·5·
 5 ·accompanied by guards.·
    accompanied by guards. How
                            How many
                                many guards?
                                     guards?

·6·
 6 · · · A.
         A.· · Most
               Most of
                    of the times there
                       the times there would
                                       would

·7·
 7 ·be
    be two
       two guards.
           guards.

·8·
 8 · · · Q.·
         Q. · Were
              Were there times when
                   there times      it was
                               when it was

·9·
 9 ·not
    not two?
        two?

10·
10 · · · A.
         A.· · They
               They were
                    were always
                         always two
                                two guards.
                                    guards.

11·
11 ·The
    The extra one was
        extra one     in the
                  was in the van.
                             van.

12·
12 · · · Q.·
         Q. · One
              One of
                  of the two was
                     the two     in the
                             was in the van?
                                        van?

13·
13 · · · A.
         A.· · No,
               No, no,
                   no, no.·
                       no. One
                            One of
                                of them -- I
                                   them -- I

14·
14 ·know
    know for
         for sure
             sure two of them
                  two of them would
                              would walk in
                                    walk in

15·
15 ·with
    with the
         the ICE
             ICE detainee.
                 detainee.

16·
16 · · · Q.·
         Q. · Where
              Where would those guards
                    would those guards be
                                       be

17·
17 ·when
    when the
         the ICE
             ICE detainee
                 detainee was
                          was being treated?
                              being treated?

18·
18 · · · · · · MR.
               MR. JOHNSON:·
                   JOHNSON: Object
                             Object to form.
                                    to form.

19·
19 · · · A.
         A.· · The
               The female
                   female guard
                          guard would
                                would always
                                      always

20·
20 ·be
    be in
       in the
          the room, in the
              room, in the examination
                           examination room.
                                       room.

21·
21 · · · Q.·
         Q. · Were
              Were you
                   you also in the
                       also in the

22·
22 ·examination
    examination room
                room when
                     when Dr. Amin treated
                          Dr. Amin treated ICE
                                           ICE

23· ·detainees?
23   detainees?

24·
24 · · · A.
         A.· · I
               I don't
                 don't know
                       know how
                            how to
                                to answer
                                   answer this
                                          this

25·
25 ·question
    question because
             because there
                     there will
                           will be times that
                                be times that I
                                              I



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 3 · · ·    · ·

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 4 · · ·    · ·

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·6·
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 8 ·

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 9 · · ·    · ·

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·1·
 1 ·

·2·
 2 ·

·3·
 3 ·

·4·
 4 · · ·    · ·

·5·
 5 · · ·    · ·

·6·
 6 ·

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 8 · · ·    · ·

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 9 · · ·    · ·

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11 · · ·    · ·

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19 · · ·    · ·

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25 · · ·    · ·


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                                                                            103


·1·
 1 · · ·




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                                                                            104


·1·
 1 ·

·2·
 2 ·

·3·
 3 ·

·4·
 4 ·

·5·
 5 · · · Q.·
         Q. · And
              And then
                  then if
                       if I'm
                          I'm understanding
                              understanding

·6·
 6 ·correctly,
    correctly, Dr. Amin would
               Dr. Amin would bring
                              bring the form
                                    the form

·7·
 7 ·with
    with his
         his signature
             signature and
                       and your
                           your signature
                                signature to
                                          to

·8·
 8 ·the
    the hospital on the
        hospital on the date
                        date of
                             of surgery, is
                                surgery, is

·9·
 9 ·that
    that correct?
         correct?

10·
10 · · · A.
         A.· · Well,
               Well, not on the
                     not on the day of the
                                day of the

11·
11 ·surgery.·
    surgery. He
              He would
                 would take
                       take them
                            them ahead,
                                 ahead,

12·
12 ·probably
    probably three or four
             three or four days
                           days before
                                before the
                                       the

13·
13 ·surgery
    surgery so the hospital
            so the hospital would
                            would have
                                  have them in
                                       them in

14·
14 ·time.
    time.

15·
15 · · · Q.·
         Q. ·

16·
16 ·

17·
17 ·

18·
18 · · · · · ·                                   .
                                                 .

19·
19 · · · A.
         A.· ·

20·
20 · · · Q.·
         Q. ·

21·
21 ·

22·
22 ·                .
                    .

23 · · · · · · M
23·            M

24·
24 · · · A.
         A.· ·

25·
25 · · · Q.·
         Q. ·



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·1·
 1 ·

·2·
 2 · · · A.
         A.· ·

·3·
 3 ·

·4·
 4 · · · Q.·
         Q. ·

·5·
 5 ·

·6·
 6 ·

·7·
 7 ·

·8·
 8 · · · · · ·

·9·
 9 · · · A.
         A.· ·

10·
10 · · · Q.·
         Q. ·

11·
11 ·

12·
12 ·

13·
13 ·

14·
14 ·

15·
15 ·

16·
16 · · · · · ·                                   .
                                                 .

17·
17 · · · A.
         A.· ·

18·
18 · · · Q.·
         Q. ·

19·
19 ·

20·
20 ·

21·
21 ·

22·
22 ·

23 ·
23·

24·
24 · · · · · ·

25·
25 · · · A.
         A.· · It
               It would
                  would be
                        be a
                           a standard
                             standard form.
                                      form.



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·1·
 1 · · · Q.·
         Q. · Are
              Are these forms kept
                  these forms kept in
                                   in a
                                      a

·2·
 2 ·specific
    specific location in Dr.
             location in     Amin's office?
                         Dr. Amin's office?

·3·
 3 · · · A.
         A.· · Yes.
               Yes.

·4·
 4 · · · Q.·
         Q. · Where
              Where are they kept?
                    are they kept?

·5·
 5 · · · A.
         A.· · They
               They are
                    are above my desk.
                        above my desk.

·6·
 6 · · · Q.·
         Q. · And
              And are
                  are there forms for
                      there forms for

·7·
 7 ·different procedures?
    different procedures?

·8·
 8 · · · · · · MR.
               MR. JOHNSON:·
                   JOHNSON: Object
                             Object to form.
                                    to form.

·9·
 9 · · · A.
         A.· · Yes.
               Yes.

10·
10 · · · Q.·
         Q. · Do
              Do you
                 you know
                     know what other
                          what other

11·
11 ·procedures there are
    procedures there are forms
                         forms for?
                               for?

12·
12 · · · A.
         A.· · D&C,
               D&C, D&C
                    D&C scope,
                        scope, partial
                               partial

13·
13 ·hysterectomy,
    hysterectomy, total
                  total abdominal
                        abdominal hysterectomy,
                                  hysterectomy,

14·
14 ·which
    which is
          is complete.·
             complete. Laparoscopy  for scar
                        Laparoscopy for scar

15·
15 ·tissue,
    tissue, suction
            suction D&C
                    D&C for
                        for miscarriages,
                            miscarriages,

16·
16 ·suction
    suction D&C scope.· And
            D&C scope.  And there's some for
                            there's some for

17·
17 ·D&C
    D&C cystoscope
        cystoscope endometrial
                   endometrial ablation,
                               ablation,

18·
18 ·laparoscopic tubal ligation,
    laparoscopic tubal ligation, endometrial
                                 endometrial

19·
19 ·biopsy
    biopsy scope,
           scope, D&C
                  D&C LEEP,
                      LEEP, and
                            and D&C cystoscope.
                                D&C cystoscope.

20·
20 · · · Q.·
         Q. · Again,
              Again, it feels like
                     it feels like a
                                   a pop
                                     pop quiz
                                         quiz

21·
21 ·I'm
    I'm giving
        giving you, but I
               you, but I promise
                          promise I'm
                                  I'm not
                                      not

22·
22 ·trying
    trying to.
           to.

23· · · · · · · Are
23              Are these forms kept
                    these forms kept in
                                     in

24·
24 ·languages other than
    languages other      English?
                    than English?

25·
25 · · · A.
         A.· · Just English.
               Just English.



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·1·
 1 · · · Q.·
         Q. · If
              If a
                 a detainee
                   detainee speaks
                            speaks Spanish,
                                   Spanish,

·2·
 2 ·is
    is there
       there somebody
             somebody who
                      who would
                          would read
                                read them
                                     them this
                                          this

·3·
 3 ·form?
    form?

·4·
 4 · · · · · · MR.
               MR. JOHNSON:·
                   JOHNSON: Object
                             Object to form.
                                    to form.

·5·
 5 · · · A.
         A.· · That
               That I
                    I don't
                      don't know.
                            know.

·6·
 6 · · · Q.·
         Q. · Have
              Have you
                   you ever
                       ever read
                            read a
                                 a consent
                                   consent

·7·
 7 ·form
    form to
         to a detainee who
            a detainee who speaks Spanish?
                           speaks Spanish?

·8·
 8 · · · A.
         A.· · For
               For surgery or for
                   surgery or for treatment?
                                  treatment?

·9·
 9 ·For,
    For, like,
         like, Depos --
               Depos --

10·
10 · · · Q.·
         Q. · For
              For surgery.
                  surgery.

11·
11 · · · A.
         A.· · Honestly,
               Honestly, I don't know
                         I don't know how
                                      how to
                                          to

12·
12 ·answer
    answer this
           this question,
                question, but
                          but I
                              I would
                                would explain
                                      explain

13·
13 ·the
    the patient
        patient what
                what she
                     she was
                         was having
                             having done.· But
                                    done. But

14·
14 ·as
    as far
       far as the whole
           as the whole consent
                        consent reading out
                                reading out

15·
15 ·loud,
    loud, no.· And that
          no. And  that while
                        while examination,
                              examination, the
                                           the

16·
16 ·day
    day of
        of the
           the visit.
               visit.

17·
17 · · · Q.·
         Q. · You
              You mean
                  mean you
                       you would
                           would explain
                                 explain the
                                         the

18·
18 ·procedure on the
    procedure on the day of the
                     day of the visit?
                                visit?

19·
19 · · · A.
         A.· · Yes,
               Yes, on
                    on the day of
                       the day of the
                                  the visit,
                                      visit,

20·
20 ·whenever
    whenever Dr. Amin suggested
             Dr. Amin suggested that
                                that she
                                     she needed
                                         needed

21·
21 ·surgery.
    surgery.

22·
22 · · · Q.·
         Q. · Have
              Have you
                   you ever
                       ever explained
                            explained a
                                      a D&C
                                        D&C

23· ·to
23   to a
        a patient?
          patient?

24·
24 · · · A.
         A.· · Yes,
               Yes, I
                    I have.
                      have.

25·
25 · · · Q.·
         Q. · Have
              Have you
                   you ever
                       ever explained
                            explained a
                                      a D&C
                                        D&C



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·1·
 1 ·to
    to an
       an ICE detainee?
          ICE detainee?

·2·
 2 · · · A.
         A.· · Yes.
               Yes.

·3·
 3 · · · Q.·
         Q. · When
              When you've explained a
                   you've explained a D&C
                                      D&C to
                                          to

·4·
 4 ·an
    an ICE
       ICE detainee,
           detainee, have
                     have you
                          you ever explained
                              ever explained

·5·
 5 ·alternative treatment options?
    alternative treatment options?

·6·
 6 · · · · · · MR.
               MR. JOHNSON:·
                   JOHNSON: Object
                             Object to form.
                                    to form.

·7·
 7 · · · A.
         A.· · Yes.
               Yes.

·8·
 8 · · · Q.·
         Q. · What
              What are
                   are the
                       the alternative
                           alternative

·9·
 9 ·treatment options for
    treatment options for a
                          a D&C?
                            D&C?

10·
10 · · · · · · MR.
               MR. JOHNSON:·
                   JOHNSON: Object
                             Object to form.
                                    to form.

11·
11 · · · A.
         A.· · Dr. Amin always
               Dr. Amin always gives
                               gives

12·
12 ·alternative choices first.
    alternative choices first.· Like
                                Like if
                                     if you
                                        you

13·
13 ·have
    have a
         a cyst or bleeding,
           cyst or bleeding, fibroid,
                             fibroid,

14·
14 ·endometriosis, because of
    endometriosis, because of the symptoms that
                              the symptoms that

15·
15 ·a
    a patient is having,
      patient is having, he
                         he prescribes
                            prescribes either
                                       either

16·
16 ·birth
    birth control pills, Depo
          control pills, Depo injection
                              injection and
                                        and

17·
17 ·sometimes
    sometimes antibiotics
              antibiotics for
                          for scar tissue or
                              scar tissue or

18·
18 ·for
    for what's
        what's going on infection
               going on infection in
                                  in the
                                     the

19·
19 ·uterus.·
    uterus. So  if the
             So if     patient keeps
                   the patient keeps coming
                                     coming

20·
20 ·back
    back to
         to us, if that
            us, if that same
                        same patient
                             patient keeps
                                     keeps

21·
21 ·coming
    coming to
           to us
              us and it's not
                 and it's not better or the
                              better or the

22·
22 ·medicine
    medicine is not helping,
             is not helping, that's
                             that's when
                                    when Dr.
                                         Dr.

23· ·Amin
23   Amin says okay, you
          says okay, you have
                         have two choices; you
                              two choices; you

24·
24 ·can
    can either continue hormone
        either continue hormone therapy or you
                                therapy or you

25·
25 ·can
    can do
        do surgery.
           surgery.



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·1·
 1 · · · Q.·
         Q. · And
              And that
                  that surgery is a
                       surgery is a D&C?
                                    D&C?

·2·
 2 · · · · · · MR.
               MR. JOHNSON:·
                   JOHNSON: Object
                             Object to form.
                                    to form.

·3·
 3 · · · A.
         A.· · It
               It depends.
                  depends.

·4·
 4 · · · Q.·
         Q. · What
              What other surgery could
                   other surgery could it
                                       it be?
                                          be?

·5·
 5 · · · · · · MR.
               MR. JOHNSON:·
                   JOHNSON: Object
                             Object to form.
                                    to form.

·6·
 6 · · · A.
         A.· · It
               It could
                  could be laparoscopy --
                        be laparoscopy -- not
                                          not

·7·
 7 ·always
    always could it be
           could it be a
                       a D&C
                         D&C because
                             because a
                                     a patient
                                       patient

·8·
 8 ·can just have
    can just have abdominal
                  abdominal pain but no
                            pain but no

·9·
 9 ·problems
    problems with
             with the
                  the period.·
                      period. So  if she
                               So if she keeps
                                         keeps

10·
10 ·having
    having recurrent
           recurrent pain
                     pain for
                          for a
                              a certain
                                certain time
                                        time

11·
11 ·and
    and nothing's
        nothing's helping
                  helping her,
                          her, then
                               then a
                                    a

12·
12 ·laparoscopy is only
    laparoscopy is only suggested.
                        suggested.

13·
13 · · · · · · So
               So again, not always
                  again, not always does
                                    does it
                                         it

14·
14 ·have
    have to
         to do
            do with
               with a
                    a D&C,
                      D&C, based on what's
                           based on what's

15·
15 ·going
    going on
          on with
             with the
                  the patient.
                      patient.

16·
16 · · · Q.·
         Q. · If
              If a
                 a patient
                   patient has
                           has pain,
                               pain, are
                                     are

17·
17 ·there
    there procedures other than
          procedures other than a laparoscopy
                                a laparoscopy

18·
18 ·that
    that Dr. Amin offers
         Dr. Amin offers the
                         the patient?
                             patient?

19·
19 · · · · · · MR.
               MR. JOHNSON:·
                   JOHNSON: Object
                             Object to form.
                                    to form.

20·
20 · · · A.
         A.· · Yes.
               Yes.

21·
21 · · · Q.·
         Q. · What
              What are
                   are those?
                       those?

22·
22 · · · A.
         A.· · Antibiotics,
               Antibiotics, the Rocephin
                            the Rocephin

23· ·injection,
23              pain medication.
     injection, pain medication.

24·
24 · · · Q.·
         Q. · I'm
              I'm going to introduce,
                  going to introduce, I
                                      I think
                                        think

25·
25 ·we're
    we're on Exhibit 46,
          on Exhibit 46, a
                         a document that's
                           document that's



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                                    Maria   Nito
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                                  August 23,
                                 August   23, 2023
                                               2023                            171
                                                                               171


·1·
 1 · · · ·C E R T I F I C A T E
          CERTIFICATE

·2
 2
· · ·STATE
     STATE OF
            OF NEW
               NEW YORK·
                   YORK · · )
·3·
 3 · · · · · · · ·:· · SS.:
                         SS.:
· · ·COUNTY
     COUNTY OF  ALBANY· · · ·)
             OF ALBANY
·4
 4

·5·
 5 · · · ·I,
          I, SUZANNE PASTOR, a
             SUZANNE PASTOR, a Notary
                               Notary Public
                                      Public

·6·
 6 ·for
    for and
        and within
            within the
                   the State
                       State of
                             of New
                                New York,
                                    York, do
                                          do

·7·
 7 ·hereby
    hereby certify:
           certify:

·8·
 8 · · · ·That
          That the
               the witness
                   witness whose
                           whose examination is
                                 examination is

·9·
 9 ·hereinbefore set forth
    hereinbefore set forth was
                           was duly sworn and
                               duly sworn and

10·
10 ·that
    that such examination is
         such examination is a
                             a true
                               true record of
                                    record of

11·
11 ·the
    the testimony
        testimony given by that
                  given by that witness.
                                witness.

12·
12 · · · ·I
          I further certify that
            further certify that I
                                 I am
                                   am not
                                      not

13·
13 ·related
    related to
            to any of the
               any of the parties to this
                          parties to this

14·
14 ·action
    action by blood or
           by blood or by
                       by marriage
                          marriage and
                                   and that
                                       that I
                                            I

15·
15 ·am
    am in
       in no
          no way interested in
             way interested in the outcome of
                               the outcome of

16·
16 ·this
    this matter.
         matter.

17·
17 · · · ·IN
          IN WITNESS
             WITNESS WHEREOF,
                     WHEREOF, I
                              I have
                                have hereunto
                                     hereunto

18·
18 ·set
    set my
        my hand this day,
           hand this day, September 5, 2023.
                          September 5, 2023.

19
19

20
20
             4A/1. (2"1"
                                    POLS
                                    ft;L,6

· · · · · · ·___________________________
21·
21 · · · · ·SUZANNE
             SUZANNE PASTOR
                     PASTOR

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                                  U.S. LEGAL
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